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                                                                            Universal Consulting Resources,LLC
                                                                            3250 Benton St.Apt lo7
                                                                            Wheat Ridge,C080212
    13116 Harbrs Place Bradenton,FL 34212
    941 527 1417 Fax 941 761 5805


     STATEMENT OF ACCOUNT                   il                                        July 31,2009




                                                                                              ＄
                                        Beginning Balance:                                            1,540,251.52




                                                                                              ＄
                                        Additions to Capital




                                                                                              ＄
                                        Withdrawals




                                                                                              ＄
                                        Avg. lnvestment Balance                                            629,895.08




                                                                                              ＄
                                        Allocated Profit:                                                        2,477.74

                                                 Ending Balance                                            632,372.82

                                                 Monthly Return                                                     0.39%




                                                     Account




     31‑Aug            Prolt A‖ ocation


      31‐ Oct           Profit Allocation                   S     3,22877             $                   1,279,42417


     30‑Dec            Prottt


     28‑Feb            Profit A‖ ocation                    s     5,09432                 $                     1,362,85588


                          Profit A‖ ocation             $       17,219.68             $               1,394,794.41


      30‐   」un        Profit A‖ ocation                    $    74,74103                 $                     1,540,25152
